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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

JOHN COREY FRASER, ET AL.,                           )
                                                     )
               Plaintiffs                            )
                                                     )
               v.                                    )      Case No. 3:22-cv-00410
                                                     )
BUREAU OF ALCOHOL,                                   )
TOBACCO, FIREARMS                                    )
AND EXPLOSIVES, ET AL.,                              )

               Defendants

     PLAINTIFFS’ NOTICE AND RECOMMENDATION TO ENTER FINAL ORDER

        COME NOW, the Plaintiffs, Mr. John “Corey” Fraser, Mr. Joshua Clay McCoy, Mr. Tyler

Dalton McGrath, and Mr. Ian Fletcher Shackley,1 by and through counsel (collectively

“Plaintiffs”), and, on behalf of themselves and a Class of those similarly situated, respectfully

request for this honorable Court to GRANT their pending motions and enter the proposed final

Order as attached. This proposed Order comes in furtherance of the Court’s order for the parties

to submit their recommendations on May 18, 2023, ECF Doc. 48, as well as the sua sponte request

by the Court on May 17, 2023 for the parties to submit an order which includes an injunction. The

pending matters before the Court include a motion for Mr. Justin Timothy Fraser to be added or

granted leave to intervene, ECF Doc. 50, as well as the Plaintiffs’ prayer for relief in which they

seek class certification. ECF Doc. 18.




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  This motion is also brought on behalf of Mr. Justin Timothy Fraser, who has a pending motion
to be added or granted leave to intervene as a party to the suit. His proposed complaint contains
the same legal challenges to the same laws at issue and is brought on behalf of himself and the
same proposed Class.

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       WHEREFORE, the Plaintiffs, on behalf of others similarly situated, do respectfully request

for this honorable Court to GRANT the proposed ORDER and permit Justin T. Fraser to intervene,

GRANT a declaratory judgment, an injunction, Class certification, and designation of Class

counsel.

                                                    Respectfully submitted,

                                                    ______/s______________
                                                    Elliott M. Harding
                                                    Counsel for the Plaintiffs & Prospective
                                                    Class
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                                 CERTIFICATE OF SERVICE

        On May 22, 2023, I electronically submitted the foregoing document with the clerk of court

for the United States District Court for the Eastern District of Virginia using the electronic case

filing system of the court. I hereby certify that I have served all counsel of record electronically as

well.


                                                       Respectfully submitted,

                                                       ______/s______________
                                                       Elliott M. Harding
                                                       Counsel for the Plaintiffs & Prospective
                                                       Class
                                                       Harding Counsel, PLLC
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